 1   Patrick T. Derksen (State Bar I.D. No. 023178)
     Theodore P. Witthoft (State Bar I.D. No. 021632)
 2   WITTHOFT DERKSEN, P.C.
     3550 North Central Avenue, Suite 1006
 3   Phoenix, Arizona 85012
     Telephone: (602) 680-7332
 4   Facsimile: (602) 357-7476
     Email: pderksen@wdlawpc.com
 5   Email: twitthoft@wdlawpc.com
 6   Attorneys for Trustee, Jill H. Ford
 7                             UNITED STATES BANKRUPTCY COURT
 8                                       DISTRICT OF ARIZONA
 9   In re:                            )                 Chapter 7
                                       )
10
     JASON DANIEL MILLER and CHRISTINE )                 Case No. 4:19-bk-09658-SHG
11   MARIE MILLER,                     )
                                       )                 TRUSTEE’S APPLICATION FOR
12            Debtors.                 )                 EMPLOYMENT OF COUNSEL
13                                     )
                                       )
14
15            Pursuant to 11 U.S.C. § 327 and Bankruptcy Rule 2014, Jill H. Ford (“Trustee”) hereby
16   submits her application to employ Witthoft Derksen, P.C. (the “Firm”) as counsel for the
17   Trustee in these chapter 7 proceedings, for the following:
18            1. The Trustee wishes to employ the Firm as general counsel to assist the Trustee in
19   preserving property and pursuing claims and property of this Estate.
20            2. The professional services which the Firm will render include, but are not limited to,
21   reviewing documents, reviewing law, preparing pleadings, conducting discovery and attending
22   hearings.
23            3. Based upon the Declaration of Patrick T. Derksen in support of this Application to
24   Employ Counsel, filed concurrently with this Application, the Trustee believes that the Firm is
25   disinterested and does not hold or represent an interest adverse to this Estate and that
26   employment of the Firm would be in the best interest of this Bankruptcy Estate.




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 1          WHEREFORE, Jill H. Ford, Trustee, respectfully requests that she be authorized to
 2   employ and appoint the firm of Witthoft Derksen, P.C., effective as of August 19, 2019, the
 3   filing date of this Application, to represent the Trustee in connection with these chapter 7
 4   proceedings. The Trustee requests that, after appropriate application, notice and order of this
 5   Court, the Firm be paid its costs and fees incurred as a result of its appointment as counsel for
 6   the Trustee in this matter and that the Firm’s fees and costs be paid on an hourly basis in
 7   accordance with the fee schedule attached to the Declaration of Patrick T. Derksen which is filed
 8   concurrently herewith in support of this Application.
 9                                                     Respectfully submitted,
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11
                                                       By /s/ Jill H. Ford
12                                                       Jill H. Ford, Chapter 7 Trustee
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 1   Copy of the foregoing *e-mailed/mailed
     this 19th day of August, 2019, to:
 2
 3   *Larry Watson
     United States Trustee
 4   230 North First Avenue, Suite 204
     Phoenix, Arizona 85003-1706
 5   Larry.Watson@usdoj.gov
 6   *Jill H. Ford
     P.O. Box 5845
 7   Carefree, Arizona 85377
     Chapter 7 Trustee
 8   jford@trustee.phxcoxmail.com
 9   Jason Daniel Miller
     Christine Marie Miller
10   910 S. Phelps Dr.
     Apache Junction, AZ 85120
11   Debtors
12   *Kenneth L. Neeley
     Neeley Law Firm, PLC
13   2250 E. Germann Rd., Suite 11
     Chandler, AZ 85286
14   ecf@neeleylaw.com
     Attorneys for Debtors
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16
     /s/ Patrick Derksen
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